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14                                UNITED STATES DISTRICT COURT

15                              NORTHERN DISTRICT OF CALIFORNIA

16                                       SAN FRANCISCO DIVISION

17
     SALOOJAS, INC.,                                          Case No.: 3:22-cv-02887-JSC
18
                                                              Hon. Jacqueline Scott Corely
19          Plaintiff,

20
            v.                                                STIPULATION TO EXTEND TIME FOR
21                                                            DEFENDANT TO FILE RESPONSIVE
                                                              PLEADING
22   AETNA HEALTH OF CALIFORNIA, INC.,

23           Defendant.
                                                              Complaint Filed:     May 16, 2022
24

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26
            Pursuant to Civil Local Rule 6-1(a), Defendant Aetna Health of California, Inc. (“Aetna”) and
27
     Plaintiff Saloojas, Inc. (“Plaintiff”), by and through their respective counsel of record, stipulate as
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                                                        1
                                                        STIPULATION TO EXTEND TIME TO ANSWER COMPLAINT
                                                                                  Case No.: 3:22-cv-02887-JSC
           Case 3:22-cv-02887-JSC Document 12 Filed 06/13/22 Page 2 of 4




 1   follows:

 2          WHEREAS, Plaintiff served its Complaint on May 27, 2022;

 3          WHEREAS, Aetna currently has until June 17, 2022 to answer or respond to Plaintiff’s

 4   Complaint;

 5          WHEREAS, Aetna has requested, and Plaintiff has consented to, an additional four weeks (28

 6   days) for Aetna to answer or respond to the Complaint;

 7          WHEREAS, an additional 28 days for Aetna’s answer or response to the Complaint will not

 8   alter the date of any event or any deadline already fixed by the Court order;
 9          NOW, THEREFORE, IT IS HEREBY STIPULATED pursuant to Civil Local Rule 6-1(a), by

10   and between the parties, through their respective counsel, that Aetna shall answer or otherwise respond

11   to the Complaint by July 15, 2022.

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13          IT IS SO STIPULATED.

14

15    DATED: June 13, 2022                                  ALSTON & BIRD LLP

16
                                                            By:   /s/ Jean E. Richmann________
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18                                                          LAW OFFICE OF MICHAEL LYNN
      DATED: June 13, 2022                                  GABRIEL
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                                                            By:    /s/ Michael L. Gabriel________
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                                                        2
                                                        STIPULATION TO EXTEND TIME TO ANSWER COMPLAINT
                                                                                  Case No.: 3:22-cv-02887-JSC
         Case 3:22-cv-02887-JSC Document 12 Filed 06/13/22 Page 3 of 4




 1        PURSUANT TO STIPULATION, IT IS SO ORDERED.

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                                               __________________________________
 5   DATED: ___________, 2022                    UNITED STATES DISTRICT JUDGE
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                                           STIPULATION TO EXTEND TIME TO ANSWER COMPLAINT
                                                                     Case No.: 3:22-cv-02887-JSC
           Case 3:22-cv-02887-JSC Document 12 Filed 06/13/22 Page 4 of 4




 1                 ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1(h)(3)

 2          Pursuant to Civil Local Rule 5-1(h)(3), the filer of this document attests that concurrence in

 3   the filing of this document has been obtained from the signatories above.

 4

 5
     DATED: June 13, 2022                                   /s/ Jean E. Richmann
 6                                                          Jean E. Richmann
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 9                                                          E-mail: jean.richmann@alston.com
10                                                          Counsel for Defendant Aetna Health of
11                                                          California, Inc.

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                                                       STIPULATION TO EXTEND TIME TO ANSWER COMPLAINT
                                                                                 Case No.: 3:22-cv-02887-JSC
